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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 IN RE: ETHIOPIAN AIRLINES FLIGHT ET
 302 CRASH                                           Lead Case: 1:19-cv-02170 (Consolidated)

 YALENA LOPEZ-LEWIS, as Administrator                Honorable Jorge L. Alonso
 of the Estate of ANTOINE M. LEWIS SR.,
 deceased,                                           Magistrate Judge M. David Weisman

 This filing relates to: 19-cv-04964


             AGREED MOTION TO APPROVE SETTLEMENT OF CLAIMS
                     AND DISMISS ALL CLAIMS – LEWIS

        Plaintiff, YALENA LOPEZ-LEWIS, as Administrator of the Estate of ANTOINE M.

LEWIS SR., deceased, by her undersigned attorneys, respectfully moves this Court to approve the

settlement of claims for the beneficiaries and dismiss all claims against Defendant, The Boeing

Company, and in support thereof states as follows:

       1.      Plaintiff’s husband, Antoine M. Lewis Sr., deceased, was a passenger on board a

certain Boeing 737 Max 8 aircraft, registration ET-AVJ (“the Accident Aircraft”) being operated

by Ethiopian Airlines as Flight ET302 from Addis Ababa, Ethiopia to Nairobi, Kenya on March

10, 2019 (“the Accident Flight”). The Accident Flight crashed in Ethiopia shortly after takeoff,

killing all 157 persons on board the Accident Aircraft, including Plaintiff’s Decedent.

       2.      This matter is a wrongful death and survival action arising from the death of

Plaintiff’s Decedent.

       3.      Plaintiff filed a complaint alleging negligence, strict product liability, and other

claims against Defendant, and subsequently adopted the Master Complaint filed in the Lead Case

in this consolidated matter.


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        4.      Plaintiff alleges, among other things, that Defendant Boeing designed,

manufactured, assembled, and sold the Accident Aircraft, and the Accident Aircraft was defective

and negligently designed, manufactured, and/or assembled, resulting in the crash of the Accident

Aircraft.

        5.      Plaintiff further alleges as a direct and proximate result of the alleged defective

condition and negligent design, manufacture, and assembly of the Accident Aircraft, Plaintiff and

other heirs of Decedent suffered loss of household services, loss of care, comfort, companionship,

guidance, and society and mental anguish, sorrow and grief, as well as various other damages as a

result of the death of Plaintiff’s Decedent.

        6.      Defendant Boeing agrees and stipulates, for purposes of this consolidated litigation

only, that it is liable to Plaintiff and Plaintiff’s Decedent’s next of kin for all compensatory damages

resulting from the death of Plaintiff’s Decedent. (Dkt. #1217-1).

        7.      Plaintiff’s Decedent was thirty-nine (39) years old at the time of the Accident

Flight, and a resident of the United States. Decedent is survived by his wife, Yalena Lopez Lewis,

and now adult child, Antoine Lewis, Jr.

        8.      Counsel for Plaintiff and counsel for Boeing engaged in a mediation before retired

Cook County Circuit Court Chief Judge Donald O’Connell. The parties have agreed to settle the

Plaintiff’s claims (including claims on behalf of Decedent’s estate and surviving beneficiaries)

against Defendant.

        9.      As a condition of the settlement, the parties have agreed to keep the amount of the

settlement confidential. The terms of the settlement and allocation of proceeds are provided to the

Court as Exhibit 1, filed under seal.




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        10.    In connection with the mediation of these claims and in the course of negotiating

this settlement, Plaintiff’s counsel considered the strength of Plaintiff’s claims against Defendant,

Defendant’s asserted defenses and various other relevant factors.

        11.    Plaintiff’s counsel has extensive experience in the representation of families of

victims of international aviation accidents and specializes in aviation ligation. Plaintiff’s counsel

believes the settlement amount is fair and reasonable under all the above-stated considerations.

        12.    The mediator, retired Chief Judge O’Connell, also has a great deal of experience as

a judge and mediator in aviation matters, and believes this settlement to be fair and reasonable for

all parties.

        13.    Plaintiff’s counsel has fully explained all the above facts to Plaintiff and all

beneficiaries, and Plaintiff and all beneficiaries agree that the settlement amount is fair and

reasonable. Plaintiff seeks the Court’s approval of this settlement.

        14.    Plaintiff’s counsel conferred with counsel for Defendant Boeing, and counsel for

Defendant stated Boeing agrees with the relief requested herein.

        WHEREFORE, Plaintiff prays that this Court enter an Order:

        A. Finding the undersigned attorneys at Romanucci & Blandin, LLC, Hart McLaughlin &
           Eldridge, Clifford Law Offices, P.C., and the Kryder Law Group are competent
           attorneys representing the interests of the beneficiaries;

        B. Approving on behalf of the beneficiaries the settlement of the claims of Plaintiff against
           Defendant resulting from the death of decedent ANTOINE M. LEWIS, SR. aboard
           Flight ET302 (including Plaintiff’s claims on behalf of Decedent’s estate and all
           surviving beneficiaries);

        C. Approving the allocation and distribution as submitted in Plaintiff’s Exhibit 1 filed
           under seal;

        D. Dismissing Plaintiff’s claims with prejudice and without costs against any party; and

        E. Providing Plaintiff with such other relief as this Court may deem just.


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Dated: July 9, 2025

                                     Respectfully submitted,

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